                    Case 18-11289                     Doc 1     Filed 04/18/18 Entered 04/18/18 12:18:24                                            Desc Main
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  B5 (Official Form 5) (12/07)                               FORM 5. INVOLUNTARY PETITION
                                         United States Bankruptcy Court                                                                       INVOLUNTARY
                                              Northern District of Illinois                                                                     PETITION
   IN RE (Name of Debtor - If Individual: Last, First, Middle)                                    ALL OTHER NAMES used by debtor in the last 8 years
                                                                                                   (Include married, maiden, and trade names.)
        Aurora Memory Care, LLC

   Last four digits of Social-Security or other Individual’s Tax-ID No./Complete EIN
   (If more than one, state all.)
        XX-XXXXXXX
   STREET ADDRESS OF DEBTOR (No. and street, city, state, and zip code)                           MAILING ADDRESS OF DEBTOR (If different from street address)

        1340 River Street                                                                             Aurora Memory Care, LLC
        Aurora, IL 60506                                                                              1340 River Street
                                                                                                      Aurora, IL 60506


                                    COUNTY OF RESIDENCE OR
                                    PRINCIPAL PLACE OF BUSINESS
                                      Kane
   LOCATION OF PRINCIPAL ASSETS OF BUSINESS DEBTOR (If different from previously listed addresses)



   CHAPTER OF BANKRUPTCY CODE UNDER WHICH PETITION IS FILED
               Chapter 7                 Chapter 11
                                                    INFORMATION REGARDING DEBTOR (Check applicable boxes)
   Nature of Debts                                                                       Type of Debtor                              Nature of Business (Check one box)
   (Check one box)                                                                   (Form of Organization)                            Health Care Business
   Petitioners believe:                                                Individual (Includes Joint Debtor)                              Single Asset Real Estate as defined in
        Debts are primarily consumer debts                             Corporation (Includes LLC and LLP)                                11 U.S.C. § 101(51)(B)
        Debts are primarily business debts                             Partnership                                                     Railroad
                                                                       Other (If debtor is not one of the above entities,              Stockbroker
                                                                         check this box and state type of entity below.)               Commodity Broker
                                                                                                                                       Clearing Bank
                                                                   ___________________________________________                         Other

                                          VENUE                                                               FILING FEE (Check one box)
            Debtor has been domiciled or has had a residence, principal                   Full Filing Fee attached
            place of business, or principal assets in the District for 180
            days immediately preceding the date of this petition or for                   Petitioner is a child suport creditor or its representative, and the form specified
            a longer part of such 180 days than in any other District.                    in § 304(g) of the Bankruptcy Reform Act of 1994 is attached.
                                                                                      [If a child support creditor or its representative is a petitioner, and if the
            A bankruptcy case concerning debtor’s affiliate, general                  petitioner files the form specified in § 304(g) of the Bankruptcy Reform Act of
            partner or partnership is pending in this District.                       1994, no fee is required.]

                                      PENDING BANKRUPTCY CASE FILED BY OR AGAINST ANY PARTNER
                               OR AFFILIATE OF THIS DEBTOR (Report information for any additional cases on attached sheets.)
   Name of Debtor                                                  Case Number                                               Date




   Relationship                                                    District                                                  Judge




                                                      ALLEGATIONS                                                                         COURT USE ONLY
                                                   (Check applicable boxes)

   1.        Petitioner(s) are eligible to file this petition pursuant to 11 U.S.C. § 303(b).
   2.        The debtor is a person against whom an order for relief may be entered under title 11
             of the United States Code.
   3.a.      The debtor is generally not paying such debtor’s debts as they become due, unless
             such debts are the subject of a bona fide dispute as to liability or amount;
                                                        or
   3.b.      Within 120 days preceding the filing of this petition, a custodian, other than a trustee,
             receiver, or agent appointed or authorized to take charge of less than substantially all
             of the property of the debtor for the purpose of enforcing a lien against such
             property, was appointed or took possession.




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                                                                                                   Name of Debtor       Aurora Memory Care, LLC
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                                                                     TRANSFER OF CLAIM
             Check this box if there has been a transfer of any claim against the debtor by or to any petitioner. Attach all documents evidencing the
             transfer and any statements that are required under Bankruptcy Rule 1003(a).
                                                                               REQUEST FOR RELIEF
       Petitioner(s) request that an order for relief be entered against the debtor under the chapter of title 11, United States Code, specified in this petition. If any
       petitioner is a foreign representative appointed in a foreign proceeding, a certified copy of the order of the court granting recognition is attached.

       Petitioner(s) declare under penalty of perjury that the foregoing is true and
       correct according to the best of their knowledge, information, and belief.

                                                                                              X     /s/ Gregory J. Jordan                                       April 18, 2018
       X                                                                                          Signature of Attorney                                                 Date
           Signature of Petitioner or Representative (State title)
                                                                                              Gregory J. Jordan/Jordan & Zito LLC
       Meridian Senior Living, LLC                                          April 18, 2018    Name of Attorney Firm (If any)
       Name of Petitioner                                                   Date Signed

       Name & Mailing                     Robert Sweet, authorized                            55 West Monroe Street, Suite 3600
       Address of Individual              representative                                      Chicago, IL 60603
       Signing in Representative          6931 Arlington Road, Suite 320                      Address
       Capacity                           Bethesda, MD 20814                                  Telephone No.   (312) 854-7181




                                                                                              X
       X                                                                                          Signature of Attorney                                                     Date
           Signature of Petitioner or Representative (State title)

                                                                                              Name of Attorney Firm (If any)
       Name of Petitioner                                                    Date Signed

       Name & Mailing
       Address of Individual
       Signing in Representative                                                              Address
       Capacity                                                                               Telephone No.




                                                                                              X
       X                                                                                          Signature of Attorney                                                     Date
           Signature of Petitioner or Representative (State title)

                                                                                              Name of Attorney Firm (If any)
       Name of Petitioner                                                    Date Signed

       Name & Mailing
       Address of Individual
       Signing in Representative                                                              Address
       Capacity                                                                               Telephone No.

                                                                              PETITIONING CREDITORS
       Name and Address of Petitioner                                  Nature of Claim                                                       Amount of Claim
       Meridian Senior Living, LLC                                     Services Rendered
       6931 Arlington Road, Suite 320                                                                                                                          275,000.00
       Bethesda, MD 20814

       Name and Address of Petitioner                                  Nature of Claim                                                       Amount of Claim




       Name and Address of Petitioner                                  Nature of Claim                                                       Amount of Claim




       Note: If there are more than three petitioners, attach additional sheets with the statement under penalty of                          Total Amount of
             perjury, each petitioner's signature under the statement and the name of attorney and petitioning                               Petitioners’Claims
             creditor information in the format above.                                                                                                      275,000.00

                                                                             0
                                                                            _____ continuation sheets attached
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